Case 0:21-cv-61320-RS Document 1 Entered on FLSD Docket 06/25/2021 Page 1 of 12




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 ALAN REDDISH,
      Plaintiff.
 vs.
                                                     Case No.: _________________________
 VILLA DOS MINT, LLC d/b/a CASA MINT
 a/k/a THE MINT-MIAMI CASA,
        Defendant.


                                         COMPLAINT

        Plaintiff, ALAN REDDISH, by his undersigned counsel, hereby files this Complaint and

 sues, Defendant, VILLA DOS MINT, LLC d/b/a CASA MINT a/k/a THE MINT-MIAMI

 CASA, for injunctive relief attorneys’ fees, and litigation costs, including but not limited to

 disbursements, court expenses, and other fees, pursuant to the Americans with Disabilities Act,

 42 U.S.C. § 12181, et seq., (hereinafter the “A.D.A”), the ADA’s Accessibility Guidelines, 28

 C.F.R. Part 36 (hereinafter the “ADAAG”). The mandates of 42 U.S.C. §12134(a), and the

 published revised regulations for Title III of the Americans With Disabilities Act of 1990 in the

 Federal Register to implement the requirements of the ADA. This Court has original jurisdiction

 over the action pursuant to 28 U.S.C., §§1331, and 1343 for Plaintiff’s claims arising under 42

 U.S.C. § 12181. et seq., based upon Defendant’s violations of Title III of the ADA (see also, 28

 U.S.C. §§ 2201 and 2202).

                                       INTRODUCTION

        1.     Defendant, VILLA DOS MINT, LLC, owns and/or operates that certain hotel

 known as CASA MINT a/k/a THE MINT-MIAMI CASA, located in 335 DeSoto St.,

 Hollywood, Florida 33019 (the “Hotel”). The Hotel has a website located at www.themint.casa
Case 0:21-cv-61320-RS Document 1 Entered on FLSD Docket 06/25/2021 Page 2 of 12




 (the “Website”). The Hotel takes reservations through its Website and provides information

 regarding available guestrooms and amenities.

         2.       As of March 15, 2012, Defendant was required to ensure that all of its reservation

 systems, including its online reservation systems (a) identify and describe disabled accessible

 features of the Hotel in detail; (b) identify and describe disabled accessible features of ADA

 compliant guest rooms in detail; (c) permit disabled individuals to independently assess whether

 the Hotel and its available guestrooms meet their individual accessibility needs (by describing

 accessible a inaccessible features); and (d) allow reservations to be taken for accessible

 guestrooms in the same manner as for non-accessible guestrooms1. Defendant has not complied.

 This lawsuit follows.

                                     JURISDICTION AND VENUE

         3.       This Court has original subject matter jurisdiction over this action pursuant to 28

 U.S.C., §§1331, 1343, as Plaintiff’s claims arise under 42 U.S.C. §12181. et seq., based upon the

 enumerated violations of Title III of the Americans with Disabilities Act (see also, 28 U.S.C. §§

 2201 and 2202).

         4.       This Court has personal jurisdiction over Defendant in this action. Defendant

 owns or operates the Website, which is an interactive website through which Defendant seeks to

 consummate financial transaction (reservations and payments) with residents of this District (and

 others) who visit the Website, and Defendant violated Plaintiff’s civil rights in this District, as

 set forth more fully below.

         5.       Venue lies in this District pursuant to 28 U.S.C. §1391(a)(2), because a

 substantial Part of the events or omissions giving rise to the claims here at issue occurred in this

 1
   This is a non-exclusive list of requirements imposed by 28 C.F.R. §36.302(e)(l). These requirements apply not
 only to the Website, but also to every online reservation system, including third party websites, on which
 reservations can be made to stay at the Hotel, including orbitz.com, travelocity.com, hotels.com, and others.
Case 0:21-cv-61320-RS Document 1 Entered on FLSD Docket 06/25/2021 Page 3 of 12




 District; Plaintiff encountered Defendant’s ADA violations in this District, and the injury to

 Plaintiff here at issue occurred in this District.

                                               PARTIES

         6.      Plaintiff, ALAN REDDISH, was and is at all material times hereto above the age

 of 18 years, sui juris, and a resident of Broward County. He is a qualified individual with

 disabilities under the ADA law. Plaintiff is a confined to a motorized wheelchair since initially

 being diagnosed with primary lateral sclerosis and later diagnosed with Parkinson’s disease.

 Plaintiffs access to the premises described below (the "Property" or “Facility”) through

 Defendant's reservation system contained on its website, and therefore his full and equal

 enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations

 offered at the Property, were restricted and limited because of Plaintiff s disability and will be

 restricted in the future unless and until Defendant is compelled to cure the ADA violations

 relating to the reservation system contained on its website. Plaintiff intends to visit Defendant's

 reservation system on its website for the Property soon to avail himself of the goods and/or

 services offered therein.

         7.      Plaintiff is an advocate of the rights of similarly situated disabled persons and,

 pursuant to Houston v. Marod Supermarkets, Inc., 733 F.3d 1323 (11th Cir. 2013), is a "tester"

 for the purpose of asserting his civil rights, monitoring, ensuring, and determining whether

 places of public accommodation, including online reservation systems for places of lodging, are

 in compliance with the ADA.

         8.      Defendant, VILLA DOS MINT, LLC d/b/a CASA MINT a/ka/ THE MINT-

 MIAMI CASA, transacts business in the State of Florida and within this judicial district through

 its website. Defendant is the owner and operator of the Property, the hotel located at 335 DeSoto
Case 0:21-cv-61320-RS Document 1 Entered on FLSD Docket 06/25/2021 Page 4 of 12




 St., Hollywood, FL 33019, and the corresponding reservation system found on its Website and

 has control over its content. It also has control over the content listed in any third-party

 reservation providers.

                      VIOLATIONS OF THE AMERICANS WITH
               DISABILITES ACT AND CLAIM FOR INJUNCTIVE RELIEF

         9.     On July 26, 1990, Congress enacted the ADA, explaining that its purpose was to

 provide a clear and comprehensive national mandate for the elimination of discrimination against

 individuals with disabilities and to provide clear, strong, consistent, enforceable standards

 addressing such discrimination, invoking the sweep of congressional authority in order to

 address the major areas of discrimination faced day-to-day by people with disabilities to ensure

 that the Federal government plays a central role in enforcing the standards set by the ADA. 42

 U.S.C. § 12101(b)(l) - (4).

         10.    Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

 Department of Justice, Office of the Attorney General (“DOJ”), published revised regulations for

 Title III of the Americans With Disabilities Act of 1990. Public accommodations, including

 places of lodging were required to conform to these revised regulations on or before March 15,

 2012.

         11.    On March 15, 2012, the revised regulations implementing Title III of the ADA

 took effect, imposing significant new obligations on inns, motels, hotels and other “places of

 lodging.” 28 C.F.R. §36.302(e)(l) provides that:

                Reservations made by places of lodging. A public accommodation that owns,
                leases (or leases to), or operates a place of lodging shall, with respect to
                reservations made by any means, including by telephone, in-person, or through a
                third party –

                    (i) Modify its policies, practices, or procedures to ensure that individuals with
                    disabilities can make reservations for accessible guest rooms during the same
Case 0:21-cv-61320-RS Document 1 Entered on FLSD Docket 06/25/2021 Page 5 of 12




                    hours and in the same manner as individuals who do not need accessible
                    rooms;

                    (ii) Identify and describe accessible features in the hotels and guest rooms
                    offered through its reservations service in enough detail to reasonably permit
                    individuals with disabilities to assess independently whether a given hotel or
                    guest room meets his or her accessibility needs;

                    (iii) Ensure that accessible guest rooms are held for use by individuals with
                    disabilities until all other guest rooms of that type have been rented and the
                    accessible room requested is the only remaining room of that type;

                    (iv) Reserve, upon request, accessible guest rooms or specific types of guest
                    rooms and ensure that the guest rooms requested are blocked and removed
                    from all reservations systems; and

                    (v) Guarantee that the specific accessible guest room reserved through its
                    reservations service is held for the reserving customer, regardless of whether a
                    specific room is held in response to reservations made by others.\

        12.     In promulgating the new requirements, the Department of Justice made clear that

 individuals with disabilities should be able to reserve hotel rooms with the same efficiency,

 immediacy, and convenience as those who do not need accessible guestrooms. 28 C.F.R. Part

 36, Appx. A.

        13.     Hotels (and motels) are required to identify and describe all accessible features in

 the hotel and guestrooms; “[t]his requirement is essential to ensure individuals with disabilities

 receive information they need to benefit from the services offered by the place of lodging.” 28

 C.F.R. Part 36, Appx. A. Moreover, “a public accommodation’s designation of a guestroom as

 “accessible” does not ensure necessarily that the room complies with all of the 1991 Standards.”

 28 C.F.R. Part 36, Appx. A. Labeling a guestroom as “accessible” or “ADA” is not sufficient.

        14.     In addition, hotel rooms that are in full compliance with current standards may

 differ, and individuals with disabilities must be able to ascertain which features – in new and

 existing facilities – are included in the hotel’s accessible guest rooms. For example, under certain
Case 0:21-cv-61320-RS Document 1 Entered on FLSD Docket 06/25/2021 Page 6 of 12




 circumstances, an accessible hotel bathroom may meet accessibility requirements with either a

 bathtub or a roll in shower. The presence or absence of particular accessible features such as

 these may mean the difference between a room that is usable by a particular person with a

 disability and one that is not. 28 C.F.R. Part 36, Appx. A. Accordingly, Defendant is required to

 set forth specific accessible features and not merely recite that a guestroom is “accessible” or

 “ADA” or list accessibility features that may (or may not) be offered within a particular room.

        15.     For hotels in buildings constructed after the effective date of the 1991 Standards,

 it is sufficient to advise that the hotel itself is fully ADA compliant, and for each accessible

 guestroom, to specify the room type, the type of accessible bathing facility in the room, and the

 communications features in the room. 28 C.F.R. Part 36, Appx. A.

        16.     However, for hotels in buildings constructed prior to the 1991 Standards,

 information about the hotel should include, at a minimum information about accessible entrances

 to the hotel, the path of travel to guest check-in and other essential services, and the accessible

 route to the accessible room or rooms. In addition to the room information described above,

 these hotels should provide information about important features that do not comply with the

 1991 Standards. For example, if the door to the “accessible” room or bathroom is narrower than

 required, this information should be included (e.g., door to guest room measures 30 inches clear).

 [emphasis added]. 28 C.F.R. Part 36, Appx. A.

        17.     The Hotel is a place of public accommodation that owns and/or leases and

 operates a place of lodging pursuant to the ADA. The Hotel is in a building constructed prior to

 the 1991 Standards.
Case 0:21-cv-61320-RS Document 1 Entered on FLSD Docket 06/25/2021 Page 7 of 12




           18.   The Website (and all other online reservation platforms used by the Hotel) allows

 reservations for the Hotel to be taken online. The Defendant has control over information

 provided to the public about the Hotel through the Website and/or other online platforms.

           19.   It is important to Plaintiff that any hotel at which he researches is accessible.

 Plaintiff frequently researches and assesses the accessible features and guestrooms of hotels

 online.

           20.   While in this District, his home district, Plaintiff visited the Website to learn

 about accessible features of Defendant’s Hotel, to assess whether the Hotel is accessible, and to

 see if he could reserve an accessible room at the Hotel online. Upon his visit, Plaintiff discovered

 that the Website did not provide him with any meaningful accessibility information at all or

 allow for the reservation of an accessible room (with known accessibility features). The Website

 provided information and took reservations related to non-accessible guestrooms, but not

 accessible guestrooms.

           21.   The Website homepage and rooms page do not list any ADA accessibility

 features, the existence of any ADA accessible rooms, and further do not set forth any of the

 required accessibility information.

           22.   The Website also has inadequate accessibility information concerning common

 areas and hotel amenities. There is no indication at any point that the Hotel common areas meet

 the 1991 Standards, or alternatively (as applicable):

                 a.     Whether the public entrance to the Hotel complies with the 1991
                        Standards, and if not, the ways in which it does not comply, so that
                        Plaintiff and others similarly situated can evaluate whether it is accessible
                        to them;

                 b.     Whether the registration desk at the Hotel complies with the 1991
                        Standards, and if not, the ways in which it does not comply, so that
                        Plaintiff and others similarly situated can evaluate whether it is accessible
                        to them;
Case 0:21-cv-61320-RS Document 1 Entered on FLSD Docket 06/25/2021 Page 8 of 12




             c.    Whether restaurant or other food service areas at the Hotel comply with
                   the 1991 Standards, and if not, the ways in which they do not comply, so
                   that Plaintiff and others similarly situated can evaluate whether it is
                   accessible to them;

             d.    Whether any parking facilities, lots, or other parking accommodations at
                   the Hotel comply with the 1991 Standards, and if not, the ways in which
                   they do not comply, so that Plaintiff and others similarly situated can
                   evaluate whether it is accessible to them;

             e.    Whether the swimming pool (if any) complies with the 1991 Standards,
                   and if not, the ways in which it does not comply, so that Plaintiff and
                   others similarly situated can evaluate whether it is accessible to them;

             f.    Whether the business center complies with the 1991 Standards, and if not,
                   the ways in which it does not comply, so that Plaintiff and others similarly
                   situated can evaluate whether it is accessible to them;

             g.    Whether the meeting/ballroom areas comply with the 1991 Standards, and
                   if not, the ways in which they do not comply, so that Plaintiff and others
                   similarly situated can evaluate whether it is accessible to them;

             h.    Whether the route from the public entrance to the registration desk is
                   accessible in compliance with the 1991 Standards, and if not, the ways in
                   which it does not comply, so that Plaintiff and others similarly situated can
                   evaluate whether it is accessible to them;

             i.    Whether the route from the registration desk to the accessible rooms is
                   accessible in compliance with the 1991 Standards, and if not, the ways in
                   which it does not comply, so that Plaintiff and others similarly situated can
                   evaluate whether it is accessible to them;

             j.    Whether the route from the public entrance to the business center is
                   accessible in compliance with the 1991 Standards, and if not, the ways in
                   which it does not comply, so that Plaintiff and others similarly situated can
                   evaluate whether it is accessible to them;

             k.    Whether the route from the accessible guestrooms to the business center is

                   accessible in compliance with the 1991 Standards, and if not, the ways in
                   which it does not comply, so that Plaintiff and others similarly situated can
                   evaluate whether it is accessible to them;

             l.    Whether the route from the public entrance to the pool (if any) is
                   accessible in compliance with the 1991 Standards, and if not, the ways in
                   which it does not comply, so that Plaintiff and others similarly situated can
                   evaluate whether it is accessible to them;
Case 0:21-cv-61320-RS Document 1 Entered on FLSD Docket 06/25/2021 Page 9 of 12




                m.      Whether the route from the accessible guestrooms to the pool (if any) is
                        accessible in compliance with the 1991 Standards, and if not, the ways in
                        which it does not comply, so that Plaintiff and others similarly situated can
                        evaluate whether it is accessible to them;

                n.      Whether the route from the public entrance to the fitness center is
                        accessible in compliance with the 1991 Standards, and if not, the ways in
                        which it does not comply, so that Plaintiff and others similarly situated can
                        evaluate whether it is accessible to them;

                o.      Whether the route from the accessible guestrooms to the fitness center is
                        accessible in compliance with the 1991 Standards, and if not, the ways in
                        which it does not comply, so that Plaintiff and others similarly situated can
                        evaluate whether it is accessible to them;

                p.      Whether the route from the public entrance to the restaurant or food
                        service areas is accessible in compliance with the 1991 Standards, and if
                        not, the ways in which it does not comply, so that Plaintiff and others
                        similarly situated can evaluate whether it is accessible to them; q. Whether
                        the route from the accessible guestrooms to the restaurant or food service
                        areas is accessible in compliance with the 1991 Standards, and if not, the
                        ways in which it does not comply, so that Plaintiff and others similarly
                        situated can evaluate whether it is accessible to them;

                r.      Whether the route from the public entrance to the conference/ballroom
                        space is accessible in compliance with the 1991 Standards, and if not, the
                        ways in which it does not comply, so that Plaintiff and others similarly
                        situated can evaluate whether it is accessible to them;

                s.      Whether the route from the accessible guestrooms to the meeting/ballroom
                        space is accessible in compliance with the 1991 Standards, and if not, the
                        ways in which it does not comply, so that Plaintiff and others similarly
                        situated can evaluate whether it is accessible to them;

        23.     This is not intended to be an exclusive list, and Plaintiff brings this action to

 remediate all violations of the ADAAG found to exist upon the Website, and upon all online

 reservation platforms used by the Hotel.

        24.     In addition to the list above, upon information and belief, Defendant may not

 effectively (i) ensure that accessible guest rooms are held for use by individuals with disabilities

 until all other guest rooms of that type have been rented and the accessible room requested is the

 only remaining room of that type; (ii) reserve, upon request, accessible guest rooms or specific
Case 0:21-cv-61320-RS Document 1 Entered on FLSD Docket 06/25/2021 Page 10 of 12




  types of guest rooms and ensure that the guest rooms requested are blocked and removed from

  all reservations systems; or (iii) guarantee that the specific accessible guest room reserved

  through its reservations service is held for the reserving customer, regardless of whether a

  specific room is held in response to reservations made by others. Discovery is required on these

  issues.

            25.   Plaintiff will visit the Website again upon the Defendant’s compliance with the

  laws and regulations specified herein, in order learn about the accessible (and inaccessible)

  features of the Hotel, learn about the accessible (and inaccessible) features of Hotel guestrooms,

  assess the extent to which the hotels meet each of his specific accessibility needs, and determine

  whether he can reserve an accessible guestroom. If the Hotel is the most suited to his

  accessibility needs as compared to other suitable hotels reviewed online.

            26.   Defendant has discriminated against Plaintiff and all other mobility-impaired

  individuals, by denying full and equal access to and enjoyment of the goods, services, facilities,

  privileges, advantages and accommodations offered on the Websites, due to the continuing ADA

  and ADAAG violations as set forth above. Defendant has had eight (8) years to bring the

  Website (and other online reservation platforms, as applicable) into compliance with the

  ADAAG revisions, but has failed or refused to do so.

            27.   Modifying the Website (and other online reservation platforms, as applicable) to

  comply with the ADA and ADAAG is accomplishable without undue burden or expense and is

  readily achievable. But in any event, upon information and belief, the Website has been altered,

  updated, and edited, after 2010, but not in a manner compliant with 2010 ADAAG standards.

            28.   Defendant will continue to discriminate against Plaintiff and all other disabled

  individuals who access the Website (and other online reservation platforms, as applicable) unless
Case 0:21-cv-61320-RS Document 1 Entered on FLSD Docket 06/25/2021 Page 11 of 12




  and until Defendant modifies the Website (and other online reservation platforms, as applicable)

  to set forth all required information, as set forth above.

         29.      Plaintiff is without an adequate remedy at law and are suffering irreparable harm,

  and Plaintiff reasonably anticipates that he will continue to suffer this harm unless and until

  Defendant is required to correct the ADA violations found upon the Websites (and other online

  reservation platforms, as applicable), and to maintain the Websites (and other online reservation

  platforms, as applicable), inclusive of the online reservation system, and accompanying policies

  and procedures, in a manner that is consistent with and compliant with ADA and ADAAG

  requirements.

         30.      Pursuant to 42 U.S.C. §12188(a) this Court has authority to grant injunctive relief

  to Plaintiff, including an Order that compels Defendant to enact policies that are consistent with

  the ADA and its remedial purposes, and to alter and maintain its Website (and other online

  reservation platforms, as applicable), and all online reservation systems, in accordance with the

  requirements set forth within the 2010 Standards, 28 C.F.R. §36.302(e)(l).

         WHEREFORE, Plaintiff, ALAN REDDISH, respectfully requests that this Court enter

  judgment against Defendant, VILLA DOS MINT, LLC d/b/a CASA MINT a/k/a THE MINT-

  MIAMI CASA, and in his favor, as follows:

                  a.     A declaration that the Website (and other online reservation platforms, as
                         applicable) is owned, leased, operated, and/or controlled by Defendant is
                         in violation of the ADA;

                  b.     Temporary and permanent injunctive relief enjoining Defendant from
                         continuing its discriminatory practices, including the requirement that
                         Defendant permanently implement policies, practices, procedures,
                         including online content, consistent with the mandates of the 2010
                         ADAAG Standards on its Website (and other online reservation platforms,
                         as applicable);

                  c.     Temporary and permanent injunctive relief enjoining Defendant from
                         maintaining or controlling content on any website through which it is
Case 0:21-cv-61320-RS Document 1 Entered on FLSD Docket 06/25/2021 Page 12 of 12




                     offering online reservations for any hotel that it owns or operates, unless
                     such website and online reservation system fully comply with 28 C.F.R.
                     §36.302(e)(l);

              d.     An award of reasonable attorneys’ fees, costs, disbursements and other
                     expenses associated with this action, in favor of Plaintiff;

              e.     Such other and further relief as this Court deems just, necessary and
                     appropriate under the circumstances.



       Respectfully submitted,

       s/ Glenn R. Goldstein                       s/ Lauren N. Wassenberg
       Glenn R. Goldstein (FBN: 55873)             Lauren N. Wassenberg (FBN: 34083)
       Attorney for Plaintiff                      Attorney for Plaintiff
       Glenn R. Goldstein & Assoc., PLLC           Lauren N. Wassenberg & Assoc., P.A.
       1408 Brickell Bay Dr., Ste. 1008            1825 NW Corporate Blvd., Ste. 110
       Miami, FL 33131                             Boca Raton, FL 33431
       (305) 306-7674                              (561) 571-0646
       GGoldstein@G2Legal.net                      WassenbergL@gmail.com
